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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 21-cr-508-01-BAH
                                     :
v.                                   :
                                     :
LUKE WESSLEY BENDER,                 :
                                     :
            Defendant.               :
____________________________________:

                     DEFENDANT’S RESPONSE TO COURT ORDER

       Defendant Luke Wessley Bender, through undersigned counsel, submits the following

response to the Court’s April 13, 2023 Minute Order, and states, through counsel, that he

respectfully takes no position on whether “photo and video evidence identified in government’s

[91] and [92] Exhibit Lists may be made publicly available without restriction.”

Dated: April 20, 2023                        Respectfully submitted,
                                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                /s/ Christopher Macchiaroli
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